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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X

In Re: New York City Policing During Summer 2020
Demonstrations                                                             ORDER


                                                                           20-CV-8924(CM)(GWG)

This filing is related to:

Payne v. DeBlasio, 20-CV-8924
People v. City of New York, 21-CV-322
Sierra v. City of New York, 20-CV-10291
Wood v. De Blasio, 20-CV-10541
Yates v. New York City, 21-CV-1904
Sow v. City of New York, 21-CV-533
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        UPON THE APPLICATION OF PLAINTIFFS IN THE ABOVE CAPTIONED

MATTER, WITH DEFENDANTS’ CONSENT, for the unsealing of records pertaining to the

stops and/or arrests and/or prosecutions of non-party individuals who were involved in or

witnesses to the protests at issue in the above-captioned matters (the “putative class members and

non-parties”) that might otherwise be protected from disclosure by New York Criminal Procedure

Law (“CPL”) §§ 160.50 and/or 160.55;

        WHEREAS such records are material and relevant to the above-captioned civil actions

currently pending the Southern District of New York, being defended by the Corporation Counsel

of the City of New York; and

        WHEREAS the Court has the authority to unseal these records in connection with these

actions;

        IT IS HEREBY ORDERED that the records in the possession, custody or control of the

following entities pertaining to the stops and/or arrests and/or prosecutions of the putative class

members and non-parties during the protests at issue in the above-captioned matters that are sealed
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pursuant to CPL §§ 160.50 and 160.55 are hereby unsealed for use in these civil actions consistent

with this Order: (1) New York City Police Department; (2) New York County District Attorney’s

Office; (3) Bronx County District Attorney’s Office; (4) Queens County District Attorney’s

Office; (5) Kings County District Attorney’s Office; (6) Richmond County District Attorney’s

Office; (7) Supreme, Criminal, and/or Family Courts of New York County, State and/or City of

New York; (8) Corporation Counsel of the City of New York; (9) New York City Civilian

Complaint Review Board; (10) New York City Department of Investigation; (11) New York City

Council; (12) Office of the Mayor of New York City; and (12) any other New York City agency;

       IT IS FURTHER ORDERED that each entity listed above shall not be subject to the

statutory sealing requirements of CPL §§ 160.50 and 160.55 as to sealed records regarding stops

and/or arrests and/or prosecutions of the putative class members and non-parties that are in the

entity’s possession, related to reviewing such records for potential disclosure and disclosing such

records to counsel for the parties in the course of discovery in the above-captioned matters;

       IT IS FURTHER ORDERED that each entity listed above may disclose sealed records

of stops and/or arrests and/or prosecutions of the putative class members and non-parties that are

in the entity’s possession to counsel for the parties in the course of discovery in the above-

captioned matters for use in those actions consistent with this Order;

       IT IS FURTHER ORDERED that records unsealed pursuant to this Order and produced

by the entities listed above to counsel for the parties in the above-captioned matters shall be

produced without redaction of personally identifying information related to putative class members

and non-parties; and

       IT IS FURTHER ORDERED that records produced pursuant to this Order and the

information contained in them shall not be deemed Confidential Materials under the Protective




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Order entered and filed April 2, 2021 in these consolidated actions (Document 115) (“the

Protective Order”) as a result of this Order, except that personally identifying information of the

putative class members and non-parties (other than employees of the Defendant City of New York)

contained in such records, including their names, pedigree information (including dates of birth

and social security numbers), and contact information (including addresses, phone numbers, and

e-mail addresses), shall be treated as Confidential Materials under the Protective Order.

Information regarding on-duty employees of the Defendant City of New York contained in records

produced pursuant to this Order shall not be treated as Confidential Materials under the Protective

Order as a result of this Order.

DATED:         New York, NY
               June 7, 2021




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